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August 16, 2023

Via ECF
The Honorable Lewis J. Liman
United States District Court
Southern District of New York
Thurgood Marshall Courthouse
500 Pearl St.
New York, New York 10007-1312

       Re:      Gemini Trust Co., LLC v. Digital Currency Group, Inc., 23-cv-06864 (LJL)

Dear Judge Liman:

       We represent Plaintiff Gemini Trust Co., LLC in the above-captioned action. Pursuant to
Sections 1.D and 2.K of the Court’s Individual Practices in Civil Cases, we write to request (i) a
two-week extension of Plaintiff’s deadline to amend its Complaint, and (ii) entry of the briefing
schedule proposed below for Defendants’ motion to dismiss (Dkt. No. 17), which was filed on
August 10, 2023. Unless extended, the deadline for Plaintiff to amend its Complaint is August 31,
2023, see Fed. R. Civ. P. 15(a)(1)(B), and the deadline for Plaintiff to oppose Defendants’ motion
to dismiss is August 24, 2023, see Local Civil Rule 6.1(b). This is Plaintiff’s first request for an
extension of time. The parties are not currently scheduled to appear before the Court.

      We have conferred with counsel for Defendants, and we are authorized to represent that
Defendants consent to entry of the following schedule:

       •     September 14, 2023 – Deadline for Plaintiff to oppose the motion to dismiss or to
             amend its Complaint.

       •     October 5, 2023 – Deadline for Defendants to file their reply in support of any motion
             to dismiss.
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         The requested extensions are necessary due to pre-existing professional and personal
commitments, and to afford the parties sufficient time to prepare briefing that will assist the Court
in its resolution of Defendants’ motion to dismiss.

                                                      Respectfully submitted,

                                                      /s/ John F. Baughman
                                                      John F. Baughman
                                                      Counsel for Plaintiff

cc:    Counsel of Record (by ECF)




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